          Case 1:20-cv-03100-SMJ   ECF No. 42   filed 11/10/21   PageID.432 Page 1 of 2




1                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON

2
                                                                     Nov 10, 2021
3                         UNITED STATES DISTRICT COURT                   SEAN F. MCAVOY, CLERK


                         EASTERN DISTRICT OF WASHINGTON
4
     STEPHANIE WOODCOCK,                         No. 1:20-cv-03100-SMJ
5
                                Plaintiff,
6                  v.                            ORDER DISMISSING CASE

7    JOHNSON & JOHNSON, and
     ETHICON, INC.,
8
                                Defendants.
9

10
             On November 10, 2021, the parties filed a stipulated dismissal, ECF No. 41.
11
     Consistent with the parties’ agreement and Federal Rule of Civil Procedure
12
     41(a)(1)(A)(ii), IT IS HEREBY ORDERED:
13
             1.    The parties’ Joint Stipulation of Dismissal with Prejudice, ECF No.
14
                   41, is GRANTED.
15
             2.    All claims are DISMISSED WITH PREJUDICE, with all parties to
16
                   bear their own costs and attorney fees.
17
             3.    All pending motions are DENIED AS MOOT.
18
             4.    All hearings and other deadlines are STRICKEN.
19
     //
20



     ORDER DISMISSING CASE – 1
          Case 1:20-cv-03100-SMJ   ECF No. 42   filed 11/10/21   PageID.433 Page 2 of 2




1    //

2    //

3            5.    The Clerk’s Office is directed to CLOSE this file.

4            IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

5    provide copies to all counsel.

6            DATED this 10th day of November 2021.

7

8
                         _________________________
9                        SALVADOR MENDOZA, JR.
                         United States District Judge
10

11

12

13

14

15

16

17

18

19

20



     ORDER DISMISSING CASE – 2
